    Case: 1:17-cv-09080 Document #: 95 Filed: 06/16/21 Page 1 of 2 PageID #:1316




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

ALEX KISLOV and NIKO HEARN,
individually and on behalf of a class of
similarly situated individuals,
                                                               Case No. 1:17-cv-9080
               Plaintiff,
                                                            Hon. Rebecca R. Pallmeyer
       v.
                                                       Magistrate Judge Hon. Sheila Finnegan
AMERICAN AIRLINES, INC., a Delaware
Corporation,

               Defendant.


             AMERICAN AIRLINES, INC.’S 12(b)(6) MOTION TO DISMISS

       Defendant American Airlines, Inc. (“American”) respectfully moves this Court under

Federal Rule of Civil Procedure 12(b)(6) for an order dismissing Plaintiff’s Third Amended

Class Action Complaint with prejudice and entering judgment in favor of American. A

memorandum in support of this motion is being filed contemporaneously with this motion to

dismiss.

 Dated: June 16, 2021                              Respectfully submitted,

 Paul E. Bateman                                   By: /s/Mark W. Robertson
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                                                   Attorneys for Defendant American Airlines,
                                                   Inc.



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    Case: 1:17-cv-09080 Document #: 95 Filed: 06/16/21 Page 2 of 2 PageID #:1317




                                 CERTIFICATE OF SERVICE

         The undersigned certifies that, on June 16, 2021, pursuant to Fed. R. Civ. P. 5 and LR 5.5, a
true and correct copy of the foregoing American Airlines, Inc.’s 12(b)(6) Motion to Dismiss was
filed with the Clerk of Court using the CM/ECF System, which will send notification of such filing
to the attorneys of record at the email addresses on file with the court.

                                                               /s/Mark W. Robertson
                                                               Mark W. Robertson




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